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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA
            __________________________________________
                                                       )
            UNITED STATES OF AMERICA                   )
                                                       )
                 V.                                    ) CASE NO: 1:21-CR-00382-PLF
                                                       )
            CHRISTOPHER WARNAGIRIS,                    ) STATUS: PENDING VERDICT
                                                       )
                     DEFENDANT.                        )
            __________________________________________)

                   DEFENDANT’S MOTION TO STRIKE PORTION OF ECF NO. 156
            ———————————————————————————————————————


                   The Defense hereby moves to strike the Government’s wildly inaccurate “Brief Factual

            Recitation,” a section in ECF No. 156, as unethical and highly prejudicial prosecutorial

            gamesmanship, and in support thereof states as follows:

               A. Counsel for the Government took unreasonable liberties in ECF No. 156 by

                   mischaracterizing the facts that the prosecutor claims were presented at trial.

               B. For example, accusations that the defendant “pushed,” “fought,” used “violent force,”

                   “used his body weight against the officer,” “shoved,” that “Officer A.W., had to fight

                   with the defendant,” etc. (this list is not exhaustive), are not at all supported by the

                   exhibits presented at trial nor the testimony of the witnesses. The Government has used

                   ECF No. 156 to fabricate facts that are not in evidence.

               C. Moreover the prosecutor claimed that “[t]ext messages on the defendant’s phone revealed

                   his full knowledge of the certification.” Aside from the fact that the texts were filled with

                   memes and jokes, one of the most memorable lines from that group chat was Warnagiris



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                asking if the electors would be “gathering in a hotel”… where Pence would be

                participating. The statements referenced by the Government are from this conversation,

                which contained no discussion of the formal certification process mandated by the

                Constitution. To claim that this exchange demonstrates “full knowledge of the

                certification” is a gross misrepresentation of the facts. Warnagiris not once discussed the

                formal process mandated by the Constitution as it is actually carried out in Congress.

            D. This “factual” recitation, as the prosecutor called it, is a deliberate attempt to alter and

                distort the Court’s recollection of the trial in order to gain a verdict advantage while the

                verdict is pending.

            E. Without delving into a full rebuttal, the Defense submits that the entire section entitled

                “Brief Factual Recitation” is erroneous and argues facts not in evidence. This section

                functions as a slimy attempt at a second closing argument. The prosecutor’s attempt

                appears to defense counsel as extremely prejudicial, unethical, and blatant prosecutorial

                gamesmanship.

            F. Such conduct has no place in a federal courtroom, certainly not in a filing on the record.

                A prosecutor has a professional obligation to promote criminal justice, not to engage in

                used car salesmanship techniques. The prosecutor has a duty to ensure that defendants

                receive due process under the Due Process Clause of the Fifth Amendment. See Berger v.

                United States, 295 U.S. 78, 88 (1935) (“The United States Attorney is the representative

                not of an ordinary party to a controversy, but of a sovereignty whose obligation to govern

                impartially is as compelling as its obligation to govern at all; and whose interest,

                therefore, in a criminal prosecution is not that it shall win a case, but that justice shall be


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                   done.”); On Prosecutorial Ethics, 13 Hastings Const. L. Q. 537-539 (1986); United

                   States v. Ward, 63 F. Supp. 2d 1203 (C.D. Cal. 1999) (“The prosecutor… enters a

                   courtroom to speak for the People and not just some of the People. The prosecutor speaks

                   not solely for the victim, or the police, or those who support them, but for all the People.

                   That body of `The People' includes the defendant and his family and those who care

                   about him. It also includes the vast majority of citizens who know nothing about a

                   particular case, but who give over to the prosecutor the authority to seek a just result in

                   their name.”).



            WHEREFORE, due to the extreme prejudice and strong concerns of gamesmanship, the Defense

            moves to strike from the record the Government’s “Brief Factual Recitation,” a section located

            on pages 2 through 4 in ECF No. 156.



                                                         Respectfully submitted,

                                                         By Counsel:

                                                                /s/
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                                     CERTIFICATE OF SERVICE FOR CM/ECF

                    I hereby certify that on October 9, 2024, I will electronically file the foregoing with the
            Clerk of the Court for the United States District Court for the District of Columbia by using the
            CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
            service will be accomplished by the CM/ECF system.

                                                                /s/
                                                          Marina Medvin, Esq.




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